      Case 3:23-cr-00172-PDW         Document 67     Filed 09/09/24      Page 1 of 5




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NORTH DAKOTA
                            EASTERN DIVISION

United States of America,

                        Plaintiff,             Case No.: 3:23-cr-00172

vs.
                                        DEFENDANT KORY JOHNSON’S
                                        SENTENCING MEMORANDUM
Kory David Johnson,

                      Defendant,

                            ATTORNEYS OF RECORD

      Defense Counsel                           Assistant U.S. Attorney
      Trent N. Barkus                           Richard M. Lee
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                            RULE 32(F) COMPLIANCE

      Pursuant to Rule 32(f) of the Federal Rules of Criminal Procedure, Attorney Trent

N. Barkus consulted with the Defendant, Kory David Johnson (herein after referred to as

“Kory”), regarding the Presentence Investigation Report (PSI) and AUSA Richard M. Lee,

and U.S. Probation Officer, Heather Achtenberg-Heck.




                                           1
       Case 3:23-cr-00172-PDW         Document 67      Filed 09/09/24     Page 2 of 5




                               PROCEDURAL HISTORY

       Defendant, Kory David Johnson. is the subject of an Indictment that charged Kory

with Possession Of Firearms By A Prohibited Person, in violation of Title 18, United States

Code § 922(g)(1), and 924(a)(8), Firearms Trafficking, in violation of Title 18, United

States Code § 933(a)(1) and 2, and Possession of Stolen Firearms, in violation of Title 18,

United States Code § 922(j) and 924(a)(2). [Docket No. 2]. Attorney Trent N. Barkus was

appointed to represent Kory in this matter on September 20, 2023. [Docket No. 13]. The

United States and Kory entered into a written Plea Agreement and Plea Agreement

Supplement, and they were filed on April 15, 2024. [Docket Nos. 46 and 47]. Kory entered

his plea of guilty to Counts 2 and 3 of the Indictment in front of this Court on April 22,

204. [Docket No. 46]. Kory has been re-scheduled to be sentenced on September 16, 2024

[Docket No. 52].

                        GUIDELINE RANGE CALCULATION

       Following United States v. Booker, 543, U.S. 220 (2005) the Guidelines are

advisory, not mandatory.      A sentence below the Guideline range does not require

extraordinary circumstances or the use of rigid mathematical formulae. Id. at 47. The Court

should consider all the 18 U.S.C. Section 3553(a) factors to determine whether they support

the sentence requested by a party, without presuming the guideline range is reasonable. Id.

at 49-50. In considering those factors, “the Court ‘shall impose a sentence sufficient, but

not greater than necessary’ to comply with sentencing goals, considering the nature and

seriousness of the offense, the history and characteristics of the defendant, and the need for



                                              2
      Case 3:23-cr-00172-PDW           Document 67    Filed 09/09/24   Page 3 of 5




the sentence to provide justice, deterrence, and other goals of punishment.” United States

v. Pappas, 452 F.3d 767, 773 (8th Cir. 2006).

      According to United States v. Francis, 462 F.3d 810 (8th Cir. 2006), courts in the

Eighth Circuit Court of Appeals follow a three-step process when imposing a sentence.

First, the court determines a proper sentencing guidelines range. Second, the court

determines whether a departure is warranted under the guidelines. Third, the court looks

to 18 U.S.C. § 3553(a) to determine if a variance is warranted.

      When conducting this sentencing process, the court should be guided by the

Supreme Court’s holding in Rita v. United States, 551 U.S. 338 (2007). In Rita, the

Supreme Court held that a sentencing court is to apply a sentence that is “sufficient, but

not greater than necessary” to meet the sentencing goals laid out in § 3553(a). Id. Under

Rita, the sentencing court may impose a sentence lower than the guidelines contemplate

because the case does not fall within the “heartland” of cases to which the guidelines

intended to apply, because the recommended sentence under the guidelines does not meet

the goals of § 3553(a), or because the case warrants a lower sentence regardless of the

guidelines. Id. Thus, a sentencing court is free to impose a sentence lower than the

guidelines recommend to meet the goals of sentencing contemplated by § 3553(a) (stating

factors such as age, education, mental condition, drug or alcohol addiction can now be

considered by the sentencing court).

       “A post-Booker sentence normally should be determined in a sequential manner,

with the district court first determining the applicable guideline range, then determining

whether any traditional guideline departures are warranted, and finally considering the

                                             3
       Case 3:23-cr-00172-PDW         Document 67      Filed 09/09/24    Page 4 of 5




possibility of varying from the guideline sentence based on the factors in § 3553(a). United

States v. Coyle, 506 F.3d 680, 683 (8th Cir. 2007). The sequential ordering process was

developed to maintain distinction between sentencing “departures” and “variances.” Id.

After reviewing the sentencing factors in 18 U.S.C. § 3553(a), the court may then consider

a variance pursuant to 3553(a) factors.

       In determining an appropriate sentence, the court, in this case, must consider (1) the

nature and circumstances of the offense and the history and characteristics of the defendant;

(2) the need for the sentence imposed; (3) the kinds of sentences available; (4) the kinds of

sentence and sentencing range established for – the applicable category of offense

committed by the applicable category of defendant; and (5) the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found guilty of

similar conduct. 18 U.S.C. § 3553(a). In reviewing these factors, the court must impose

a sentence sufficient but not greater than necessary to comply with the purposes of

sentencing. Id. In this case, Kory respectfully requests departure be granted after the

application of the 3553(a) factors.

                             CREDIT FOR TIME SERVED

                         18 UNITED STATES CODE § 3585(a)

       Pursuant to 18 U.S.C. § 3585(a), a sentence to a term of imprisonment commences

the date a defendant is received into custody. Thus, pursuant to 18 U.S.C. § 3585(a), it is

respectfully requested that Kory receive credit for the time he has already served. Kory was

arrested on September 15, 2023. Kory has been in federal custody since his arrest as

detailed in the Presentence Investigation. That is 366 days on the day of sentencing.

                                             4
      Case 3:23-cr-00172-PDW   Document 67    Filed 09/09/24   Page 5 of 5




Dated: September 9, 2024.

                                   Respectfully submitted,

                                   BARKUS LAW FIRM, P.C.



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